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              In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                            No. 16-185V
                                     Filed: September 1, 2020
                                          UNPUBLISHED

                                                                    Special Master Horner
    CHRISTIE KIRBY,

                         Petitioner,                                Interim Attorneys’ Fees and
    v.                                                              Costs Decision; Reasonable
                                                                    Attorney Rate
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Richard Gage, Richard Gage, P.C. Cheyanne, WY, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

               DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS1

       On May 29, 2020, petitioner moved for an award of interim attorneys’ fees and
costs in the amount of $91,876.68. (ECF No. 78.) In response, respondent
recommended that the special master exercise his discretion to determine a reasonable
award for attorneys’ fees and costs, if the special master is satisfied that the reasonable
basis and interim fee award standards are met. (ECF No. 79.) For the reasons
discussed below, I award petitioner interim attorneys’ fees and costs in the reduced
amount of $91,122.50.

         I.     Procedural History

       On February 8, 2016, petitioner alleged broadly that her October 8, 2013
influenza vaccination injured her right arm. (ECF No. 1, pp. 1-2.) This case was initially


1 Because this decision contains a reasoned explanation for the special master’s action in this case, it will
be posted on the United States Court of Federal Claims’ website in accordance with the E-Government
Act of 2002. See 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
Internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information the disclosure of which would constitute an unwarranted invasion of privacy.
If the special master, upon review, agrees that the identified material fits within this definition, it will be
redacted from public access.


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assigned to the Special Processing Unit of the Office of Special Masters (“SPU”) based
on the allegations in the petition. (ECF No. 5.)

        Respondent filed his Rule 4(c) report recommending against compensation on
August 9, 2016. (ECF No. 19.) On February 20, 2017, petitioner filed an expert report
from Dr. Marcel Kinsbourne, a neurologist, along with his CV and the medical literature
that was cited in his expert report. (ECF Nos. 27-28; Exs. 9-17.) On June 30, 2017,
respondent filed a responsive expert report from neurologist, Dr. Peter D. Donofrio.
(ECF Nos. 34; Exs. A-B.) On July 20, 2017, this case was removed from the SPU and
reassigned to Special Master Laura D. Millman. (ECF No. 37.) Thereafter, the parties
filed supplemental reports from their respective experts. (ECF Nos. 39, 43.)
Subsequently, Special Master Millman set an entitlement hearing for July 15, 2019.
(ECF No. 42.)

       On March 19, 2018, petitioner filed an amended petition, now alleging a Table
“SIRVA” injury resulting from her October 3, 2013 flu vaccine. (ECF No. 44, p. 2.) On
June 5, 2019, this case was reassigned to my docket following Special Master Millman’s
retirement. (ECF No. 45.)

       On July 22, 2019, a one-day entitlement hearing was held. (See ECF No. 62,
Transcript of Proceedings (“Tr”), July 22, 2019). Petitioner testified first, followed later
by Drs. Kinsbourne and Donofrio. On November 1, 2019, I issued a Ruling on
Entitlement, finding that petitioner was entitled to compensation. (ECF No. 63.) On
December 30, 2019, I issued a Decision Awarding Damages based on respondent’s
proffer. (ECF Nos. 67-68.)

        Respondent filed a motion for review of my Ruling on Entitlement. (ECF Nos. 71,
73.) On May 27, 2020, the Court granted respondent’s motion for review, vacating my
Ruling on Entitlement and Decision Awarding Damages, and dismissing the petition.
(ECF No. 76.) Judgment was entered on the same day. (ECF No. 77.) Petitioner later
filed an appeal with the Court of Appeals for the Federal Circuit. (ECF No. 81.)

       Petitioner filed the instant motion for interim attorneys’ fees and costs on May 29,
2020. (ECF No. 78.) Respondent filed his response on June 10, 2020. (ECF No. 79.)
Petitioner filed no reply.

       Accordingly, petitioner’s motion for interim attorneys’ fees and costs is now ripe
for resolution.

   II.    An Award of Interim Attorneys’ Fees and Costs is Appropriate

        Section 15(e)(1) of the Vaccine Act allows for the special master to award
“reasonable attorneys' fees, and other costs.” § 300aa–15(e)(1)(A)–(B). Petitioners are
entitled to an award of reasonable attorneys' fees and costs if they are entitled to
compensation under the Vaccine Act, or, even if they are unsuccessful, if the special



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master finds that the petition was filed in good faith and with a reasonable basis. Avera
v. Sec'y of Health & Human Servs., 515 F.3d 1343, 1352 (Fed. Cir. 2008).

        Additionally, the Federal Circuit has concluded that interim fee awards are
permissible and appropriate under the Vaccine Act. Shaw v. Sec’y of Health & Human
Servs., 609 F.3d 1372 (Fed. Cir. 2010); Avera, 515 F.3d at 1352. In Avera, the Federal
Circuit stated, “[i]nterim fees are particularly appropriate in cases where proceedings
are protracted and costly experts must be retained.” Id. In denying an interim fee
award, the Avera court reasoned, “The amount of fees here was not substantial;
appellants had not employed any experts; and there was only a short delay in the award
pending the appeal.” Id. In Shaw, the Federal Circuit clarified that “where the claimant
establishes that the cost of litigation has imposed an undue hardship and there exists a
good faith basis for the claim, it is proper for the special master to award interim
attorneys’ fees.” 609 F.3d at 1375.

        The fact of petitioner’s appeal to the Federal Circuit does not in itself justify an
interim award of attorneys’ fees and costs; however, petitioner’s request for interim
attorneys’ fees and costs is made after more than four years of litigation, after an
entitlement hearing, and after petitioner incurred costs for providing expert reports and
expert testimony to support her claim. Upon review of the records, there is no evidence
that this petition was not brought in good faith and petitioner had reasonable basis to
pursue her claim. Petitioner contends that “a hearing on entitlement has been held and
sufficient evidence was presented to confirm the good faith and reasonable basis for the
claim.” (ECF No. 78-2, p. 2.) For the same reasons discussed in my prior ruling on
entitlement (ECF No. 63), I agree. In any event, respondent has chosen not to
challenge petitioner’s good faith and reasonable basis for filing this claim. (ECF No.
79.) Accordingly, I find that petitioner’s request for an award for interim attorneys’ fees
and costs is reasonable at this juncture.

   III.    Reasonableness of the Requested Award

           a. Attorneys’ Fees

        It is “well within the special master’s discretion” to determine the reasonableness
of fees. Saxton v. Sec’y of Health & Human Servs., 3 F.3d 1517, 1521-22 (Fed. Cir.
1993); see also Hines v. Sec’y of Health & Human Servs., 22 Cl. Ct. 750, 753 (1991)
(“[T]he reviewing court must grant the special master wide latitude in determining the
reasonableness of both attorneys’ fees and costs.”). The Federal Circuit has approved
the lodestar approach to determine reasonable attorneys’ fees and costs under the
Vaccine Act. Avera, 515 F.3d at 1347. This is a two-step process. Id. at 1347-48.
First, a court determines an “initial estimate…by ‘multiplying the number of hours
reasonably expended on the litigation times a reasonable hourly rate.’” Id. (quoting
Blum v. Stenson, 465 U.S. 886, 888 (1984)). Second the court may make an upward or
downward departure from the initial calculation of the fee award based on specific
findings. Id. at 1348.



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                 i. Reasonable Hourly Rates

        A reasonable hourly rate is “the prevailing market rate defined as the rate
prevailing in the community for similar services by lawyers of reasonably comparable
skill, experience, and reputation.” Avera, 515 F.3d at 1348 (citation and quotation
omitted). In Avera, the Federal Circuit found that in Vaccine Act cases, the special
master should use the forum rate, i.e., the DC rate, in determining an award of
attorneys’ fees unless the bulk of the work is completed outside of the District of
Columbia and there is a “very significant difference” between the forum hourly rate and
the local hourly rate. 515 F.3d at 1349 (citing Davis County Solid Waste Mgmt. &
Energy Recovery Spec. Serv. Dist. v. U.S. Envtl. Prot. Agency, 169 F.3d 755 (D.C. Cir.
1999)). There have been prior decisions applying the Davis exception and awarding the
local rate to attorneys practicing in Cheyenne, Wyoming. See e.g., Avila v. Sec’y of
Health & Human Servs., No. 05-685V, 2009 WL 2033063 (Fed. Cl. Spec. Mstr. June 26,
2009); Masias v. Sec’y of Health & Human Servs., No. 99-697V, 2013 WL 2404075
(Fed. Cl. Spec. Mstr. May 14, 2013). Accordingly, petitioner’s counsel should be
awarded fees at local rates.

       In this case, petitioner is seeking $56,519.20 in interim attorneys’ fees for work
performed in 2015 through 2020. Most of the hourly rates requested in this case are
consistent with what has previously been awarded. See, e.g., Demitor v. Sec’y of Health
& Human Servs., No. 17-564V, 2020 WL 1027955 (Fed. Cl. Spec. Mstr. Feb. 7, 2020);
Martin v. Sec’y of Health & Human Servs., No. 13-486V, 2019 WL 2173794, at *3-4
(Fed. Cl. Spec. Mstr. Apr. 23, 2019); see also Desai v. Sec’y of Health & Human Servs.,
No. 14-811V, 2018 WL 6819551 (Fed. Cl. Spec. Mstr. Nov. 27, 2018); Hendrickson v.
Sec’y of Health & Human Servs., No. 15-812V, 2018 WL 6822351 (Fed. Cl. Spec. Mstr.
Nov. 26, 2018); Auch v. Sec’y of Health & Human Servs., No. 12-673V, 2017 WL
1718783 (Fed. Cl. Spec. Mstr. Apr. 5, 2017). I find these rates to be reasonable and
find no cause to reduce them.

       However, Ms. Blume’s requested rates require further discussion. Her requested
rate for 2018 is unreasonable because it exceeds what she has previously and
consistently billed and been awarded. The question of what Ms. Blume should be
awarded for 2018 is well-settled. See, e.g., Demitor, 2020 WL 1027955, at *4-5;
Williams v. Sec’y of Health & Human Servs., No. 15-1224V, 2019 WL 7482148, at *2
(Fed. Cl. Spec. Mstr. Dec. 2, 2019); Ellis v. Sec’y of Health & Human Servs., No., 2019
WL 3315326, at *7 (Fed. Cl. Spec. Mstr. Jun. 24, 2019); Martin v. Sec’y of Health &
Human Servs., No. 13-486V, 2019 WL 2173794, at *3-4 (Fed. Cl. Spec. Mstr. Apr. 23,
2019). In contrast, her 2019 hourly rate has now been the subject of competing
determinations. Compare Demitor, supra; Martin Supra., and Oberheim v. Sec’y of
Health & Human Servs., No. 17-725V, 2020 WL 733919, at *1 (Fed. Cl. Spec. Mstr.
Jan. 10, 2020); Yalacki v. Sec’y of Health & Human Servs., No. 14-278V, 2020 WL




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5049394 (Fed. Cl. Spec. Mstr. Aug. 12, 2020). I find Ms. Blume’s requested rates for
2019 and 2020 to be reasonable.2

       Because Ms. Blume billed only 0.2 hours during 2018, reducing Ms. Blume’s
hourly rate for 2018 to $251 per hour, consistent with prior decisions, results in a
reduction of only $3.80.

                     ii. Reasonable Hours Expended

       Turning next to the requested hours expended, special masters may rely on their
experience within the Vaccine Program to determine the reasonable number of hours
expended. Wasson v. Sec’y of Health & Human Servs., 24 Cl. Ct. 482, 484 (1991),
rev’d on other grounds and aff’d in relevant part¸ 988 F.2d 131 (Fed. Cir. 1993). Special
masters have previously reduced the fees paid to petitioners due to excessive and
duplicative billing. See Ericzon v. Sec’y of Health & Human Servs., No. 10-103V, 2016
WL 447770 (Fed. Cl. Spec. Mstr. Jan. 15, 2016) (reduced overall fee award by 10
percent due to excessive and duplicative billing); Raymo v. Sec’y of Health & Human
Servs., No. 11-654V, 2016 WL 7212323 (Fed. Cl. Spec. Mstr. Nov. 2, 2016) (reduced
overall fee award by 20 percent), mot. for rev. denied, 129 Fed. Cl. 691 (2016). Special
masters can reduce a fee request sua sponte, without providing petitioners notice and
opportunity to respond. See Sabella v. Sec’y of Health & Human Servs., 102 Fed. Cl.
719, 729 (2011).

       After reviewing the billing records, I find that counsel included entries that are
duplicative and excessive due to attorneys and paralegals billing for reviewing the same
orders and attending the same conferences/office meetings. Specifically, counsel billed
individual 0.1 hours for attorneys and paralegals for office meetings, compromising of at
least one attorney and two paralegals or two attorneys and two paralegals. Special
masters have previously found it reasonable to reduce the fees paid to petitioners due

2 The requested rates match those previously found to be reasonable relative to her legal partner, Richard
Gage, who works under the same prevailing market rates in the local legal market. However, in the prior
Demitor decision I declined to extend those same rates to Ms. Blume. The Demitor decision was based in
significant part on the understanding that, notwithstanding her argument that she had taken on a more
substantial role as partner at the Gage firm in 2019, Ms. Blume’s 2019 rate was settled at $251 per hour,
similar to her 2017 and 2018 rates. That is no longer the case. In Demitor, I addressed Ms. Blume’s rates
through 2019 and acknowledged the prior Oberheim decision, a seemingly outlier decision which
awarded the higher rates requested, but indicated that it was unpersuasive because it contained no
explanation for the awarded rates. Demitor, 2020 WL 1027955, at *5. Subsequent to issuance of the
decision in Demitor, the Oberheim decision and the resulting rates were further endorsed by a different
special master. Yalacki, 2020 WL 5049394, at *2 (citing Oberheim, 2020 WL 733919). Consistent with
that result, petitioner argues in this case that Mr. Gage and Ms. Blume enjoy comparable reputations in
their local legal community, have similar years of overall legal experience, and undertake similar
responsibilities within their firm. (ECF No. 78-1, p. 2.) Petitioner also argues that the rate extended by
Demitor was artificially low. (Id. at 3.) Notably, in addition to changing her role at the Gage firm in 2019,
Ms. Blume did not increase her rates for either 2017 or 2018. Accordingly, in reassessing Ms. Blume’s
2019 rate, a more significant rate increase than might otherwise be expected is reasonable. Additionally, I
have not noted any significant difference in the quality of Ms. Blume’s work within this program compared
to Mr. Gage.


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to billing for intra-office communication. Soto v. Sec’y of Health & Human Servs., No.
09-897V, 2011 WL 2269423, at *6 (Fed. Cl. Spec. Mstr. June 7, 2011); Carcamo v.
Sec’y of Health & Human Servs., No. 97-483V, 2011 WL 2413345, at *7 (Fed. Cl. Spec.
Mstr. May 20, 2011). Since Richard Gage is the lead attorney in this case, handling the
majority work, for duplicative and excessive entries, only hours billed by Mr. Gage are
awarded. These duplicative billing entries result in a reduction of $478.60 of the
interim fee award.3

            b. Interim Attorneys’ Costs and Petitioner’s Costs

       Attorneys’ costs must be reasonable as well. See Perreira v. Sec’y of Health &
Human Servs., 27 Fed. Cl. 29, 34 (1992) (“The conjunction ‘and’ conjoins both
‘attorneys’ fees’ and ‘other costs’ and the word ‘reasonable’ necessarily modifies both.
Not only must any request for reimbursement of attorneys’ fees be reasonable, so also
must any request for reimbursement of costs.”).

        In this case, petitioner seeks $17,431.99 in interim attorneys’ costs, including
expenses incurred in obtaining medical records, travel costs, and expert costs for Dr.
Kinsbourne to provide multiple expert reports, travel to Washington, D.C., and testify in
an entitlement hearing. Upon my review of the supporting documentation filed along
with petitioner’s motion, it appears that counsel included duplicative invoices for meals
at Sofitel Hotel. Petitioner billed individually for room service meals based on individual
receipts, but also included an invoice for total meal charges from the hotel that included
the same meals. (Compare ECF No. 78, p. 54 and ECF No. 78, pp. 76-78.) Therefore,
a reduction of $147.52 is made from the interim attorneys’ costs award. I find the
remaining requested interim attorneys’ costs to be reasonable.

       Turning next to petitioner’s costs, petitioner averred that she incurred $268.07 in
personal costs. (ECF No. 78, p. 84.) However, upon review of the supporting
documentation, the cost of petitioner’s stay at hotel in St. Louis the night before the
hearing totaled $143.81. (Id. at 85.) The submission contains no explanation for the
remaining $124.26 incurred. Therefore, petitioner is awarded $143.81 for personal
costs. Petitioner may renew her request for the remainder, with proper substantiation,
upon seeking an award for final attorneys’ fees and costs.

    IV.     Conclusion

      In light of the above, petitioner’s motion for an award of interim attorneys’ fees
and costs is hereby GRANTED and petitioner is awarded $91,122.50, representing


3There were many instances where attorneys and/or paralegals would bill for reviewing the same court
orders and attending the same conferences/ office meetings. For example, there were duplicative billings
on April 14, 2015, September 30, 2015, January 7, 2016, January 11, 2016, January 18, 2016, January
22, 2016, February 10, 2016, June 13, 2016, April 10, 2017, October 27, 2017, March 16, 2018, January
17, 2019, June 13, 2019, June 27, 2019, July 11, 2019, July 15, 2019, July 16, 2019, July 17, 2019, July
23, 2019, July 31, 2019, December 2, 2019, December 31, 2019, and January 29, 2020.


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$56,036.80 in interim attorneys’ fees, $34,941.89 in interim attorneys’ costs, and
$143.81 in personal costs.

        Accordingly, I award a total of $91,122.50 as follows:

            •   A lump sum of $143.81 in the form of a check payable to petitioner;
                and

            •   A lump sum of $90,978.69 in the form of a check jointly payable to
                petitioner and her counsel, Richard Gage, Esq.

        The clerk of the court shall enter judgment in accordance herewith.4


IT IS SO ORDERED.

                                                           s/Daniel T. Horner
                                                           Daniel T. Horner
                                                           Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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